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                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE

 In re:                                                           Chapter 11

 TPC GROUP INC.,                                                  Case No. 22-10493 (CTG)
                                                                  (Jointly Administered)
                             Debtors.


                          MOTION AND ORDER FOR ADMISSION PRO HAC VICE

                  Pursuant to Local Rule 9010-1 and the attached certification, counsel moves the admission pro hac
vice of Nelly Almeida of Milbank LLP, to represent the Ad Hoc Group of Non-Consenting Noteholders, in the above-
captioned cases and any related proceedings.

Dated: June 1, 2022                                     /s/ Timothy P. Cairns
                                                        Timothy P. Cairns (DE Bar No. 4228)
                                                        Pachulski Stang Ziehl & Jones LLP
                                                        919 North Market Street, 17th Floor
                                                        Wilmington, DE 19899-8705 (Courier 19801)

                    CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

                    Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am admitted,
practicing and in good standing as a member of the Bar of the State of New York, and submit to the disciplinary
jurisdiction of this Court for any alleged misconduct which occurs in the preparation or course of this action. I also
certify that I am generally familiar with this Court’s Local Rules and with Standing Order for District Court Fund
effective 8/31/16. I further certify that the annual fee of $25.00 has been paid to the Clerk of Court for District Court.

Dated: June 1, 2022                                     /s/ Nelly Almeida
                                                        Nelly Almeida
                                                        Milbank LLP
                                                        55 Hudson Yards
                                                        New York, NY 10001
                                                        Telephone: (212) 530-5000
                                                        Email: nalmeida@milbank.com

                                          ORDER GRANTING MOTION

                  IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.




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